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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN


EFREM WALKER, Individually,

       Plaintiff,
                                                                    Case No.: 11-cv-13997
vs.                                                                 Hon. Sean F. Cox

RAMCO-GERSHENSON PROPERTIES, L.P.,
a Foreign Limited Partnership,

       Defendant.

__________________________________________/



               STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

       Pursuant to the stipulation and agreement of the parties, and the Court being fully advised

in the premises;

       IT IS HEREBY ORDERED that the above-captioned case shall be and the same hereby

is dismissed with prejudice in its entirety and without costs being awarded to any party.

       This resolves the last pending claim and closes the case.


Dated: December 8, 2011                              s/ Sean F. Cox
                                                     Sean F. Cox
                                                     U. S. District Judge


STIPULATED AND AGREED TO BY:


By: /s Pete M. Monismith (w/permission)__            By: /s Bernice McReynolds ___________
Pete M. Monismith (P-84746)                          Robert M. Vercruysse (P21810)
Attorney for Plaintiff                               Bernice McReynolds (P44019)
3945 Forbes Ave., #175                               Attorneys for Defendants
Pittsburgh, PA 15213                                 VERCRUYSSE MURRAY & CALZONE
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Date: December 5, 2011_____________       Date: December 5, 2011_____________




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